

Matter of Attorneys in Violation of Judiciary Law § 468-a (Triolo) (2023 NY Slip Op 06195)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Triolo)


2023 NY Slip Op 06195


Decided on November 30, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 30, 2023

PM-270-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Priscilla Jennifer Triolo, Respondent. (Attorney Registration No. 5537949.)

Calendar Date:October 16, 2023

Before:Clark, J.P., Pritzker, Ceresia, Fisher and Mackey, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Priscilla Jennifer Triolo, Paramus, New Jersey, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 208 AD3d 1421, 1443 [3d Dept 2022]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit sworn to September 8, 2023 and filed September 11, 2023, supplemental filing of respondent sworn to October 20, 2023 and the October 11, 2023 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Clark, J.P., Pritzker, Ceresia, Fisher and Mackey, JJ., concur.








